Case 24-80991               Doc 16-1           Filed 07/26/24 Entered 07/26/24 16:00:16                                   Desc Proposed
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